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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION
Www.fisb.uscourts.gov

lnre: Case NO. 13~31]38~PGH
Chapte;' 1 1
EUGENIA L. CANNAVO,

Debtor.

DEBTOR. EUGENIA L. CANNAVO’S SECOND
AMENDED PLAN OF REORGANIZATION

Respectful]y submitted,

By: /S/Michael A. Kau[man
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Dated: October 31, 2014

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ARTICLE l
lNTRODUCTION

EUGENIA L. CANNAVO, the Debtor in the bankruptcy case, hereby proposes the
following plan (the “Plan”) for the reorganization of the Debtor and the resolution of the
outstanding Claims against and lnterests in the Debtor pursuant to the provisions of Chapter 11
of the Bankruptcy Code, and request Confinnation of the Plan pursuant to Section 1129 of the
Bankruptcy Code. Capitalizcd terms used herein shall have the meanings outlined in Article 2.1
of the plan and/or defined in this Plan. The Debtor is the proponents of the Plan Within the
meaning of Section 1129 of the Banl<:ruptcy Code.

Under Section 1125(b) of the Bani<ruptcy Code, a vote to accept or reject the Plan cannot
be solicited from the Holder of a Claim or lnterest until such time as the Debtor’s Disclosure
Statement has been approved by the Banl<ruptcy Court and distributed to Holders of Claims and
Interests. The Debtor’s Disclosure Statement is being simultaneously filed With the Bankruptcy
Court. The Disclosure Statement contains, among other things (a) a discussion of the Debtor’s
history (b) a summary of significant events Which have occurred to date in the Bankruptcy Case
(c) a summary of the means of implementing and funding the Plan and (d) the procedures for
voting on the Plan. No materials, other than the accompanying Disclosure Statement and any
exhibits attached thereto or referenced therein, have been approved by the Debtor for use in
soliciting acceptances or rejections of the plan. ALL HOLDERS OF CLAIMS IN THE
DEBTOR WHICH ARE ENTITLED TO VOTE ON THE PLAN A'RE ENCOURAGED
TO READ THE PLAN AND THE DISCLOSURE STATEMENT IN ITS ENTIRETY
BEFORE VOTING TO ACCEPT OR REJECT THE PLAN.

Subject to certain restrictions and requirements set forth in Section 1127 of the
Bankruptcy Code and Bankruptcy Rule 3019 and those restrictions on modifications to the Plan
set forth in Article 13 of the plan, the Debtor expressly reserve the right to alter, amend, modify,
revoke or Withdraw the plan, one or more times, prior to the plan’s substantial consummation

THE PLAN AND THE BISCLOSURE STATEMENT HAVE NOT BEEN
REQUlRED TO BE PREPARED IN ACCORDANCE WITH FEDERAL OR STATE
SECURITIES LAWS OR OTHER APPLICABLE NON-BANKRUPTCY LAW.

ARTICLE 2
DEFINED TERMS.'. RULES OF CONSTRUCTION

2.1 Defined Terms.

As used in the Plan, the following terms (Which appear in the Plan as capitalized terms)
shall have the meanings set forth beloW:

2.1.1 “Administrative Expenses” means (a) any cost or expense of administration of the
Banl<;ruptcy Case that is allowed under Section 503@)) or 507(a)(l) of the Banlcruptcy Code, to
the extent the party claiming any such cost or expense files an application, motion, request or
other Bankruptcy Court~approved pleading seeking such expense in the Bankruptcy Case on or

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before the applicable Administrative Expense Claims Bar Date, including (i) necessary costs and
expenses of preserving the Estate or operating the business of the Debtor (including wages,
salaries or commissions for services rendered) incurred on or after the Petition Date, (ii) any
post-petition cost7 indebtedness or contractual obligation duly and validly incurred or assumed
by the Debtor in Possession in the ordinary course of its business (iii) any Claim granted
administrative priority status by a Final Order of the Bankruptcy Court (iv) any Claim by a
Governmental Unit for taxes (and for interest and/ or penalties related to such taxes) due from the
Debtor for any post-petition tax year or period, and (v) compensation or reimbursement of
expenses of Professional awarded or allowed pursuant to an order of the Banl<;ruptcy Court under
Section 330(a) or 331 of the Banl§ruptcy Code (including any amounts held bach pursuant to an
order of the Bankruptcy Court); (b) any Superpriority Claim; (c) all fees and charges assessed
against the Estate under Chapter 123 of title 28, United States Code, 28 U.S.C. §§ 1911-1930;
and (d) any and all other costs or expenses of administration of the Bankiuptcy Case that are
allowed by Final Order of the Banl<ruptcy Court; provided, however, that when used in the plan,
the term “Administrative Expense” shall not include any Priority Tax Claim, ‘or unless otherwise
expressly provided in the plan, any of the Claim in Classes 1 throuin 7. ln no event shall any
Claim set out in a Proof of Claim be deemed to be an Administrative Expense (except for any
Claim by a Governmental Unit for taxes (and for interest and/or penalties related to such taxes)
due from the Debtor for any post-petition tax year or period).

2.1.2 “Administrative Expense Claim” means any Claim for the payment of an
Administrative Expense.

2.1.3 “Administrative Expense Claims Bar Date” means the date established by one or
more orders of the Bankruptcy Court as the deadline for the filing by any Creditor or other party
in interest of an application, motion, request or other Banlcruptcy Court approved pleading for
allowance of any Administrative Expense Claim.

2.1.4 “Allowed Amount” means the dollar amount in which a Claim is allowed.

2.1.5 “Allowed Claim” means (a) a Claim that has been allowed by a Final Order or (b)
with respect to any Claim against, or Equity lnterest in, a Debtor: (i) (a) proof of which, request
for payment of which, or application for allowance of which, was filed or deemed filed with the
Bankruptcy Court on or before the Bar Date, the Administrative Claims Bar Date, the
Professional Fee Bar Date, or the Rejection Damages Bar Date, as applicable, for Hling proofs of
claim or equity interest or requests for payment for Claims of that type against the Debtor or
other applicable date established by order of the Banl<ruptcy Court, even if that date is after the
Bar Date, the Administrative Claims Bar Date, the Professional Fee Bar Date, or the Rejection
Damages Bar Date, as applicable; or (b) a Claim or Equity lnterest that is allowed by the Debtor;
(ii) listed as undisputed, liquidated, and non-contingent in the Schedules and as to which no
objection to its allowance or motion to estimate for purposes of allowance has been interposed
within the applicable period of limitation fixed by this Plan, the Bankruptcy Code, the
Banl<;ruptcy Rules, or the Banlcruptcy Court; and (iii) in each instance, a Claim or Equity Interest
as to which no objection to its allowance or motion to estimate for purposes of allowance has
been interposed within the applicable period of limitation fixed by this Plan, the Banl<ruptcy
Code, the Banl<ruptcy Rules, or the Bankruptcy Court or, as to which any such objection or

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motion has been interposed, to the extent allowed by a Final Order. The term “Allowed,” when
used to modify a reference in this Plan to any Claim, Equity Interest, Class of Claims, or Class of
Equity hiterests, means a Claim or Equity Interest (or any Claim or Equity lnterest in any Class)
that is so allowed (e.g., an “Allowed Secured Claim” is a Claim that has been allowed to the
extent of the value, as determined by the Banl<ruptcy Court under Bankruptcy Code §506(a), of
any interest in property of an Estate securing such Claim).

. 2.l.6 “Allowed Class/Claim” means an Allowed Claim in the particular Class
described

2.1.7 “Allowed lnterest” means any Interest in the Debtor.

2.1.8 “Assets” means all assets of the Debtor of any nature whatsoever as of the
Effective Date.

2.1.9 “Assumed Contracts” has the means ascribed to such term in Article 7 of the Plan.
2.1.10 “Ballot” means the Ballot accompanying the Disciosure Statement upon which

Holders of lmpaired Claim or lmpaired lnterests entitled to vote on the Plan shall indicate their
acceptance or rejection of the Plan in accordance with the Voting lnstructions.

 

2.1.11 “Banlcruptcy Case” means the case currently pending before the Banl<ruptcy
Court under Chapter 11 of the Bankruptcy Code which was commenced by the Debtor on the
Petition February 11, 2014 with Case No.: 13-31138-PGH and is pending in the Southern
District of Florida Bankruptcy Court.

2.1.12 “Banlcruptcy Code” means Title ll of the United States Code, 11 U.S.C. §§ 101 et
seq. as in effect on the Petition Date, together With all amendments and modification thereto that
were subsequently made applicable to the Bankruptcy Case.

2.1.13 “Bankruptcy Counse ” means Michael A. Kaufrnan P.A., 1655 Palm Beach Lakes
Boulevard, Suite 1012, West Palm Beach, Florida 33401.

2.1.14 “Bankruptcy Court” means the United States Bankruptcy Court for the Southern
District of Florida, West Palm Beach Division or as the context requires any other court of
competent jurisdiction exercising jurisdiction over the Bankruptcy Case.

2.1.15 “Banl<ruptcy Rules” means the Federal Rules of Bankruptcy Procedure as
promulgated under 28 U.S.C. §2075 and any Local Ruies of the Banlcruptcy Court applicable to
the Chapter 11 Case, collectively

2.1.16 “Bar Date” means the date set by the clerk at ECF 64. (i.e., August 6, 2014).
2.1.17 “Cash” means currency, checks drawn on a bank insured by the Federal Deposit

lnsurance Corporation, certified checks, money orders, negotiable instruments, and wire transfers
of immediately available funds.

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2.1.18 “Causes of Action” means any and all of the Debtor’s or the Debtor’s Estate’s
actions, claims, demands, rights, defenses, counterclaims, suits and causes of action, whether
known or unknown, in law, equity or otherwise, including (a) all statutory causes of action
preserved for the Consolidated Estate under Bankruptcy Code §§5l0, 542, 543, 544, 545, 547,
548, 549, 550, and 553 that the Debtor or the Estate may have against any Person. Failure to list
an avoidance action in this Plan does not constitute the Debtor’s or the Estate’s waiver or release
of that avoidance action and (b) any and all other claims or rights of any value whatsoever at law
or in equity, against any Creditor or other third party, including claims of the type referred to in
the Disclosure Statement or in Article 8.7 of the Plan. When used in the Plan, the term “Causes
of Action” shall not include any claims, obligations, suits, judgment, damages, ri ghts, remedies7
causes of action, charges, costs, debts, indebtedness or liabilities released or waived by order of
the Bankruptcy Court or in writing by the Debtor. A Cause of action shall not, under any
circumstances, be waived as a result of` the failure of the Debtor to describe such Causes of
Action with specificity in the plan or in the Disclosure Statement; nor shall the Debtor or the
Reorganized Debtor be estopped or precluded under any theory from pursuing the Causes of
Action. Nothing in the Plan operates as a release of any of the Causes of Action.

2.l.19 “Claim” means a claim against the Debtor or its property as defined in
Banl<ruptcy Code §101(5), including: (a) any right to payment, whether or not the right is
reduced to judgrnent, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed7
undisputed, legal, equitable, secured, or unsecured arising at any time before the Effective Date;
or (b) any right to an equitable remedy for breach of performance if the breach gives rise to a
right to payment, whether or not the right to an equitable remedy is reduced to judgment, fixed,
contingent, matured, unmatured, disputed, undisputed, secured, or unsecured.

2.1.20 “Class” means a category of Claims or lnterests classified together as described in
Article 4 of the Plan.

2.1.21 “Clerk” means the Clerlc of the Bankruptcy Court.

2.1.22 “Clerlc’s Office” means the Office of the Clerlc of the Bankruptcy Court located
at 1515 N. Flagler Drive, West Palm Beach, Florida.

2.1.23 “Collateral” means any property or interest in property of an Estate subject to a
Lien to secure the payment or performance of a Claim, the Lien not being subject to avoidance
under the Bankruptcy Code or otherwise invalid under the Bankruptcy Code or applicable state
law.

2.1.24 “Confirmation” or “Confirmation of` the Plan” means the approval of the Plan by
the Banl<ruptcy Court at the Coniirmation Hearing.

2.1.25 “Confirmation Date” means the date on which the confirmation Order is entered
on the Doclcet by the Clerk pursuant to Bankruptcy Rule 5003(a).

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2.1.26 “Confirmation Hearing” means the hearing which will be held before the
Bankruptcy Court to consider Confirrnation of the Plan and related matters pursuant to Section
1128(a) of the Bankruptcy Code, as such hearing may be adjourned or continued from time to
time

2.1.27 “Confirmation Order” means the order of the Bankruptcy Court in the Banl<ruptcy
Case confirming the Plan pursuant to Section 1129 and other applicable sections of the
Banl<ruptcy Code as such order may be amended, modified or supplemented, which order
(including as amended, modified or supplemented) shall be in form and substance satisfactory to
the Debtor.

2.1.271 “Conversion Date” means the date the case was converted from a chapter 13 to a
chapter ll. (i.e. April 3, 2014).

2.1.28 “Creditor” means the Holder of a Claim, within the meaning of Section 101(10)
of the Bankruptcy Code, including Secured Creditors, Unsecured Creditors, and Creditors with
Administrative Expense Claims, and Priority Claims.

2.1.29 “Cure Claim” has the meaning ascribed to such term in Article 7 of the Plan.

2.1.30 “Debt” has the meaning ascribed to such term in Section 101(12) of the
Bankruptcy Code.

2.1.31 “Debtor” means Eugenia L. Cannavo.

2.1.32 “Debtor in Possession” means Eugenia L. Cannavo, Debtor in Possession in the
Bankruptcy Case.

2.1.32.1 “Deiiciency Claim” means any Claim that a secured creditor has after its claim
has been bifurcated into a secured or unsecured claim. The Deficiency Claim will be the
unsecured portion of the claim after it has been bifurcated and the deHciency portion will be
based on the allowed Unsecured Claim.

2.1.33 “Deposits” means the forfeitable portion of the deposits paid by unit purchasers
at the time of the execution of the Debtor’s standard purchase agreement to the extent that the
deposits remain with an Escrow Agent on the Effective Date of the Plan.

2.1.34 “Disallowed Claim” means any Claim which has been disallowed by an order of
the Bankruptcy Court which order has not been stayed pending appeal.

2.1.35 “Disclosure Statement” means the Disclosure Statement for Debtor’s Plan of
Reorganization under Chapter 11 of the United States Banlcruptcy Code dated as of October 31,
2014, in including all Exhibits attached thereto, as submitted and filed by the Debtor pursuant to
Section 1125 of the Bankruptcy Code in respect of the Banl<ruptcy Case, and as such Disclosure
Statement may be amended, supplemented, modified or amended and restated from time to time.

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2.1.36 “Disputed Claim” with respect to Claims or Equity lnterests, any Claim or Equity
lnterest: (a) listed in the Schedules as unliquidated, disputed, or contingent, or as to which the
Debtor or any other party-in-interest has (i) interposed a timely objection or request for
estirnation, or (ii) sought to equitably subordinate or otherwise limit recovery in accordance with
the Banl<iuptcy Code and the Bankruptcy Rules, in each instance where such listing, objection,
request for estimation, or action to limit recovery has not been withdrawn or determined by a
Final Order; or (b) that is a Contingent Claim.

2.1.37 “Distribution” means a distribution of Cash to a Creditor on account of an
Allowed Claim pursuant to the terms of the Plan.

2.1.38 “Docket” means the docket or dockets in the Bankruptcy Case maintained by the
Clerk.

2.1.39 “Effective Date” means the first Business Day that is 30 days after the
Confirmation Date and on Which (a) no stay of the Confirmation Order is in effect and (b) all
conditions to effectiveness set forth in Section 10.02 of this Plan have been satished or waived in
accordance with this Plan.

2.1.40 “Eguity Interest” means any equity interest in the Debtor represented by any class
or series of common or preferred stock issued before the Effective Date, and any warrants,
options, or rights to purchase any common or preferred stock.

2.1.41 “Estate” means the estate for the Debtor created in the Chapter 11 Case under
Bankruptcy Code §541.

2.1.42 “Final Order” means an order or judgment of the Bankruptcy Court: (a) as to
Which the time to appeal, petition for certiorari, or move for reargument or rehearing has expired,
or as to which any right to appeal, petition for certiorari, reargue, or rehear has been waived in
writing in form and substance satisfactory to the Debtor; and (b) if an appeal, Writ of certiorari,
or reargument or rehearing has been sought, as to which the highest court to which the order was
appealed, or certiorari, reargument or rehearing was sought, has determined or denied the appeal,
writ of certiorari, reargument, or rehearing, and the time to take any further appeal, petition for
writ of certiorari, or move for reargument or rehearing has expired; but the filing of a motion
under Rule 59 or 60 of the Federal Rules of Civil Procedure, or any analogous rule under the
Banlu”uptcy Rules, with respect to the order does not prevent the order from being a Final Order.

2.1.43 “General Unsecured Claim” means any Claim against the Debtor existing as of
the Petition Date not secured by an interest in property of the Estate, other than a Secured Claim,
an Administrative Claim, a Priority Tax Claim, a Priority Claim, or an Equity Related Claim.
The definition does not include the Deficiency Claim set forth in 2.1.32.1.

2.1.44 “Governmental Unit” means a governmental unit as such term is defined in
Section 101(27) of the Banl<ruptcy Code.

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2.1.45 “Holder” means (a) as to any Claim (i) the owner or holder of such Claim as such
is reflected on the Proof of Claim filed with respect to such Claim, or (ii) if no Proof of Claim
has been file d with respect to such Claim, the owner or holder of such Claim, the owner or
holder of such Claim as shown on the Schedules or books and records of the Debtor or as
otherwise determined by order of the Bankruptcy Court or (iii) if the owner or holder of such
Claim has transferred the Claim to a third party and advised the Debtor in writing of such
transfer and provided sufficient written evidence of such transfer, the transferee; and (b) as to
any lnterest, the record owner or holder of such lnterest as shown on the books and records of
the Debtor or as otherwisedetennined by order of the Bankruptcy Court.

2.1.46 “` mpaired” refers to any Claim or lnterest that is impaired within the meaning of
Section 1124 of the Bankruptcy Code.

2.1.47 “lnterests” means any and all membership interests in the Debtor.

2.1.48 “Liabilities” means any and all liabilities, obligations, judgments, damages,
charges, costs, Debts and indebtedness of any and every kind and nature whatsoever, whether
heretofore, now or hereafter owing, arising, due or payable, direct or indirect, absolute or
contingent, liquidated or unliquidated, known or unknown, foreseen or unforeseen, in law, equity
or otherwise, of or relating to the Debtor or any Affiliate, Subsidiary, predecessor, successor or
assign thereof, or otherwise based in whole or in part upon any act or omission, transaction,
event or other occurrence taking place prior to the Effective Date in any way relating to the
Debtor or any Affiliate, Subsidiary, predecessor or assign thereof, any assets of the Debtor
(including the Assets), the business or operations of the Debtor, the Bankruptcy Case, or the
plan, including any and all liabilities, obligations judgrnents, damages, charges, costs, Debts, and
indebtedness based in whole or in part upon any Claim of or relating to successor liability,
transferee liability, or other similar theory; provided, however, that, When used in the Plan, the
term “Liabilities” shall not include any obligation of the Debtor or the Reorganized Debtor
expressly set forth in the Plan.

2.1.49 “@r_” means, with respect to any Asset or Property, any mortgage, pledge,
security interest, lien right of first refusal, option or other right to acquire, assignment, charge,
claim, easement, conditional sale agreement, title retention agreement, defect in title or other
encumbrance or hypothecation or restriction of any nature pertaining to or affecting such Asset
or Property, whether voluntary or involuntary and whether arising by law, contract or otherwise

2.1.50 “Local Rules” means the Local Rules of the United States Bankruptcy Court for
the Southern District of Florida, as in effect on the Petition Date, together with all amendments
and modifications thereto that were subsequently made applicable to the Banlcruptcy Case.

2.1.51 “Person” means any person, individual, corporation, association, partnership,
limited liability company, joint venture, trust, organization, business, government, governmental
agency or political subdivision thereof, or any other entity or institution of any type whatsoever,
including any “person” as such term is defined in Section 101(41) of the Bankruptcy Code.

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2.1.52 “Petition Date” means September 3, 2013 the date on which the Debtor
commenced the Bankiuptcy Case by filing its voluntary petition under Chapter 13 of the
Banl<ruptcy Code.

2.1.53 “M” means the Debtor’s Amended Plan of Reorganization under Chapter ll of
the United States Banl<ruptcy code dated October, 2014, and all Exhibits to the Plan, as the same
may be amended, supplemented, modified or amended and restated from time to time in
accordance with the provisions of the Plan and the Barikruptcy Code.

2.1.54 “Plan Documents” means all documents that aid in effectuating the Plan including
the Exhibits to the Plan, which documents shall be filed with the Bankruptcy Court in accordance
with Article 14.20.

2.1.55 “ ostpetition” means arising or accruing on or after the Petition Date and before
the Effective Date.

2.1.56 “Prepetition” means arising or accruing prior to the Petition Date.

2.1.57 “Priority Claim” means a Claim that is entitled to a priority under Banl<ruptcy
Code § 507(a) other than Priority Tax Claim or Administrative Expense Claims.

2.1.58 “Professional” means any professional employed in the Bankruptcy Case with the
approval of the Banlcruptcy Court pursuant to Section 327 or 1103 of the Banl<ruptcy Code.

2.1.59 “Proof of Claim” means a proof of claim filed with the Banl<ruptcy Court with
respect to a Claim against the Debtor pursuant to Bankruptcy Rule 3001, 3002, or 3003.

2.1.60 “Property” means any property or asset of any kind, whether real, personal or
mixed, tangible or intangible, whether now existing or hereafter acquired or arising and wherever
located, and any interest of any kind therein.

2.1.61 “Pro Rata” means with respect to any distribution under the Plan to the Holder of
an Allowed Claim in a particular Class or otherwise, a fraction, the numerator of which shall be
the amount of such Holder’s Allowed Claim and the denominator of which shall be the sum of
all Allowed Claim in such Class, all determined as of the applicable Distribution Date.

2.1.62 c‘Rejected Contracts” has the meaning ascribed to such term in Article 7 of the
Plan.

2.1.63 “Reorganized Debtor” means the Debtor on and after the Effective Date as
reorganized pursuant to the Plan, including any successor thereto by merger, consolidation or
otherwise

2.1.64 “Schedules” means collectively, the schedules of assets and liabilities and the
statement of financial affairs filed by the Debtor in the Bankruptcy Case. Debtor reserves the

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right to amend or supplement its schedules of assets and liabilities and the statement of financial
affairs fi‘om time to time

2.1.65 “Secured Claim” means any Claim (a) listed in the Schedules as a liquidated,
noncontingent, and undisputed secured Claim, or (b) reflected in a proof of claim as a secured
Claim, secured by a Lien on Collateral to the extent of the value of the Collateral, as determined
in accordance with Banl<ruptcy Code §506(a), or, if the Claim is subject to setoff under
Bankruptcy Code §553, net of the setoff

2.1.66 “Secured Creditor” means any Creditor holding a Secured Claim.

2.1.67 “Supe;priority Claim” means any Claim created by a Final Order of the
Bankruptcy Court providing for a priority senior to that provided in Section 507(a)(1) of the
Bankruptcy Code, including any such Claim granted under Sections 364(c)(l) and 365 of the
Bankruptcy Code.

2.1.68 “Unimpaired” refers to a Claim that is not impaired
2.1.69 “United States” means the United States ofAmerica.

2.1.70 “United`States Trustee” means the Office of the United States Trustee for the
Southern District of Florida.

2.1.71 “Unsecured Claim” means any Claim which is not an Administrative Expense
Claim, Priority Claim, or Secured Claim including (a) any Claim arising from the rejection of an
executor contract or unexpired lease under Section 365 of the Bankruptcy code (b) except as
otherwise provided in the Plan, any portion of a Claim to the extent the value of the Creditor’s
interest in the Estate’s interest in the Collateral securing such Claim is less than the amount of
the Allowed Claim, or to the extent that the amount of the Claim subject to setoff is less than the
amount of the Allowed Claim, as determined pursuant to Section 506(a) of the Bankruptcy Code,
(c) any Claim arising from the provision of goods or services to the Debtor prior to the Petition
Date, (d) any Claim designated as an Unsecured Claim elsewhere in the Plan.

2'.1.72 “Unsecured Creditor” means any Creditor holding an Unsecured Claim.
2.1.73 “Voting Deadline” means the last day to file a Ballot accepting or rejecting the
Plan as fixed by the Disclosure Statement Approval Order, unless such date is extended by order

of the Bankruptcy Court or agreement of the Debtor.

2.1.74 “Voting Instructions” means the instructions for voting on the plan contained in
the section of the Disclosure Statement entitled “Voting Instructions.”

2.2 Capitalized Terms

Any capitalized term used in the Plan that is not defined in the Plan but is defined in the
Bankruptcy Code or the Banl<ruptcy Rules shall have the meaning ascribed to that term in the

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Bankruptcy Code or the Banlcruptcy Rules, as the case may be (with the Bankiuptcy Code or the
Bankruptcy Rules, as the case may be, controlling in the case of a conflict or ambiguity).

ARTICLE 3
TREATMENT OF ADMINISTRATIVE EXPENSE CLAIl\/IS
AND PRIORITY TAX CLAIl\/IS

In accordance with Section ll23(a)(1) of the Bankruptcy Code, Administrative Expense
Claims have not been classified in the Plan, The treatment accorded to Administrative Expense
Claims is set forth below in this Article 3.

3,1 Unclassified Claims. As provided in Bankruptcy Code §ll23(a)(1),
Administrative Claims and Priority Tax Claims are not classified for purposes of voting on, or
receiving distributions under, this Plan. Holders of Administrative Claims and Priority Tax

Claims are not entitled to vote on this Plan but, rather, are treated separately in accordance with
this Plan and under Banlcruptcy Code §1129(a)(9)(A).

3 .2 Allowed Administrative Claims

 

3,2.1 Each Allowed Administrative Claim (other than a Preserved Ordinary
Course Administrative Claim or Professional Fee Claim) will be paid in full in Cash (or
otherwise satisfied in accordance with its terms) on the latest of: (a) the Effective Date, or as
soon after that date as practicable; (b) any date the Banl<ruptcy Court may fix, or as soon after
that date as practicable; (c) 30 days after the Claim is Allowed; and (d) any date on Which the
holder of the Claim and the Debtor agreed in writing

3,2.2 Requests for Payment. All requests for payment of an Administrative
Claim (other than a Preserved Ordinary Course Administrative Claim or Professional Fee Claim)
must be served on Reorganized Debtor’s counsel, and filed with the Bankruptcy Court no later
than the Administrative Claims Bar Date. Any holder of an Administrative Claim (other than a
Preserved Ordinary Course Administrative Claim or Professional Fee Claim) that fails to file and
serve its request by the Administrative Claims Bar Date will be forever barred from asserting its
Administrative Claim against the Debtor or Reorganized Debtor.

3.3 Preserved Ordinary Course Administrative Claims. Each Allowed Preserved
Ordinary Course Administrative Claim will be paid in full in Cash at Reorganized Debtor’s
election either: (a) in accordance with the terms and conditions under which the Claim arose; or
`(b) in the ordinary course of Reorganized Debtor’s business Payrnents will be made without
further action by the holder of the Preserved Ordinary Course Administrative Claim.

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3.4 Allowed Priority Tax Claims. Any Allowed Priority Tax Claim will be paid in full
in Cash on the later of the Effective Date (or as soon after that date as practicable) and 30 days
after the Claim is Allowed, but the Debtor or Reorganized Debtor may elect to pay any Allowed
Priority Tax Claim through regular installment payments in Cash of a total value, as of the
Effective Date, equal to the Allowed amount of the Claim, over a period ending not later than
five years after the Petition Date, and in a manner not less favorable than the most favored
General Unsecured Claim provided for by this Plan. lf the Debtor or Reorganized Debtor so
elect, the installment payments will be made in equal quarterly installments of principal plus
simple interest on the unpaid portion of the Allowed Priority Tax Claim accruing from the
Effective Date at the rate of six percent per year. The first payment will be made on the latest of:
(a) the Effective Date, or as soon after that date as practicable', (b) 30 days after the Claim is
Allowed, or as soon after that date as practicable; and (c) another date on which the holder of the
Claim and the Debtor or Reorganized Debtor agree Debtor and Reorganized Debtor, as the case
may be retains the right to prepay any Allowed Priority Tax Claim7 or any remaining balance of
such a Claim, in full or in part, at any time on or after the Effective Date without premium or
penalty.

 

3.5 Professional Fee Claims. Each Allowed Professional Fee Claim will be paid in
full in Cash: (a) no later than three days after the Professional Fee Claim is Allowed; (b) on any
other terms the holder of an Allowed Professional Fee Claim and the Debtor or Reorganized
Debtor may agree; or (c) in accordance with the terms of any applicable administrative
procedures order entered by the Bankruptcy Court. Each Person seeking an award by the
Bankruptcy Court of Professional Fees must file with the Bankruptcy Court and serve on
Reorganized Debtor its final application for allowance of compensation for services rendered and
reimbursement of expenses incurred through the Confirrnation Date within 60 days after the
Effective Date.

3,6 Post-Confirmation Date Professional Fees. All claims of Professionals for
services rendered or expenses incurred after the Confirmation Date in connection with the
Chapter 11 Case and this Plan including those relating to consummation of this Plan, any appeal
of the Confirmation Order, the preparation, filing, and review of Professional Fee Claims, the
prosecution of Avoidance Actions and Preserved litigation Claims, and the resolution of
Disputed Claims7 will be paid by Reorganized Debtor on receipt of an invoice, or on other terms
on which Reor‘ganized Debtor and the Professional agree, without the need for further
Bankruptcy Court authorization or entry of a Final Order. Reorganized Debtor has ten days after
receiving a Professional’s invoice to object to any item contained in that invoice If Reorganized
Debtor and any Professional cannot agree on the amount of post-Confirrnation Date fees and
expenses to be paid to the Professional, the Bankruptcy Court will determine that amount.

 

3.7 Unclassified Claims. As provided in Banl<ruptcy Code §1123(a)(l),
Administrative Claims and Priority Tax Claims are not classified for purposes of voting on, or
receiving distributions under, this Plan. Holders of Administrative Claims and Priority Tax

Claims are not entitled to vote on this Plan but, rather, are treated separately in accordance with
Sections 2.1.1 and 2.1.5.7 of this Plan and under Bankruptcy Code §1129(a)(9)(A).

ARTICLE 4

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DESIGNATION OF CLASSES OF CLAIMS AND INTERESTS

Pursuant to Section 1112 of the Bankruptcy Code, set forth below is a designation of

Classes of Claim and lnterests. A Claim or interest (a) is classified in a particular Class only to
the extent the Claim or Interest qualifies within the description of that Class and (b) is classified
in a different Class to the extent the Claim or Interest qualifies within the description of that
different Class. Unless otherwise expressly stated, the Classes of Claims set forth below include
Claims against the Debtor that qualify within the description that Class. For purposes of the
Plan, the Claims and lnterests are classified as follows:

4.1

4.2

4.3

4.4

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4.5

4.6

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4.8

Class 1: Priority Claims
Class l consists of all Priority Claims.

This class is unimpaired
Class 2:

Secured Claim of Wells Fargo Bank, N.A. (herein referred as “Bank 1”) having
the address of Attn: Bankruptcy Department MAC#T7416-023, 4101 Wiseman Blvd, San
Antonio TX 78251.

Property located at 700 Ocean Royale Way, Apt. 903, Juno Beach, Florida 33408.

Class 2 is unimpaired

Class 31 lntentionally Left Blank

Class 4: lntentionally Left Blanl<
Class 5: lnternationally left Blank
Class 6: lnternationally left Blank

Class 7: Intentionally Left Blanl<

Class 81 intentionally Left Blanl<
Class 9: General Unsecured Claims.
Class 9 is impaired

ARTICLE 5

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TREATMENT OF CLASSFIFIED CLAIMS, INTERESTS
AND EOUITY INTERESTS

Claims, interests and Equity Interests shall be treated under the Plan in the manner set
forth in this Article 5. Except as otherwise specifically provided in the Plan, the treatment of,
and the consideration to be received by, Holders of Allowed Claims, Holders of Allowed
Interests and Holders of Equity Interests pursuant to the Plan shall be in full and final
satisfaction, settlement, release, extinguishment and discharge of their respective Allowed
Claims (of any nature whatsoever) and Allowed lnterests.

5.1 Unclassified Claims

Holders of Allowed Administrative Expense Claims shall receive the treatment set forth
in Article 3 of the Plan.

5.2 Class l: Priority Claims

Class 1 consists of all Priority Claims. Each Holder of an Allowed Priority Claim shall
be paid (a) on the Effective Date, an amount, in Cash by the Reorganized Debtor equal to the
Allowed Amount of its Priority Claim, in accordance with Section 1129(a)(9)(B) of the
Bankruptcy Code, (b) as otherwise agreed to by the Debtor and the Holder of an Allowed
Priority Claim, or (c) as otherwise ordered by a Final Order of the Bankruptcy Court.

The Debtor is not aware of any Class 1 Members as of the date of this filing
Class 1 is Unimpaired.

5.3 Class 2: Secured Claim of Wells Fargo Bank, N.A. (herein referred as “Bank 1”)
having the address of Attn: Bankruptcy Department MAC#T74l6-023, 4101 Wiseman
Blvd, San Antonio TX 78251.

Property located at 700 Ocean Royale Way, Apt. 903, Juno Beach, Florida 33408.
having the legal description:

Condominium Unit NO. S-903, South Building, Ocean Royal Condominium, a
Condominium, according to the Declaration of Condominium thereof, as recorded
in Official Records Book 11780, at Page 794, and all amendments thereto, of the
public Records of Palm Beach County, Florida;

and the parcel ID 38-43-44-21-15-205-0120. rl`his property is a homestead property. The Holder
of the Allowed Class 2 Secured Claim of Bank l shall be paid in full. There is a Final Iudgment
at Official Records Book 26012, at Page 1954 of the public Records of Palm Beach County
Florida, and the Debtor will pay the amount of the Final ludgment plus appropriate interest The
Debtor upon Confirmation will make the actual monthly mortgage payment and the arrearage of
the Allowed secured claim over 60 months The Debtor is allowed to prepay any amount at any

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time without penalty and seek a discharge Class 2 is being objected to, as the proof of claim
(Claim No. 8) includes arrearages that were also included in the Final Judgment. An Obj ection to
Claim to Wells Fargo Bank, N.A. was filed on October 29, 2014, at Docket Entry lll, for which
there is a Heaiing on November 25, 2014, which was noticed at Docket Entry 112. The Debtor
does not waive any right to reopen the Final Judgment pursuant to Florida law. The Debtor will
be making a balloon payment of approximately $80,000.00 in the final month to account for
remaining arrearages, to be provided by the Debtor’s spouse

Class 2 is impaired

5.4 Class 3: lntentionally left Blank

5.5 Class 4; intentionally left Blank

5.6 Class 5: intentionally left blank

5.7 Class 6: lntentionally left blank

5.8 Class 7: lntentionally left blank

5.9 Class 8: Intentionally Left Blank.

5.10

Class 9 consists of all Unsecured Claims against the Debtor not otherwise classified in the Plan.
The Holders of the allowed Unsecured Claim in Class 9 shall receive 30% of all Allowed Claims
in the amount of $38,987.42 and will be paid over prorated share over 60 months in the amount
of $649.79. These creditors also include, but not limited to Claim No. 1 for $5,247.98 of the
lnternal Revenue Service for the unsecured portion of its claim, Claim No. 2 for $2,194.60 of
Wells Fargo Bank, N.A., Claim No. 3 for $1,366.37 of Quantum3 Group LLC as agent for
Comenity Capital Bank, Claim No. 4 for $9,972.95 of American Express Bank FSB, Claim No.
5 for $7,997.32 of Portf`olio Recovery Associates, LLC (disputed claim)l, Claim No. 6 for
$132.39 of GE Capital Retail Bank, Claim No. 7 for $1,211.91 of GE Capital Retail Bank, Claim
No. 9 for $9,972.95 of American Express Bank, FSB (disputed claim)Z. These creditors also
include those that have not filed a proof of claim but are listed on Debtor’s Schedule F, including

 

1 This claim is disputed as duplicative and is not being included in the Claim Tota|.
2 This claim is disputed as duplicative, and is not being included in the Claim Total.

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American Express for a Costco Crcdit Card for the account number ending 1003 for 331,664.87,
Bank of America for a Credit Card for the account number ending 3771 for $737.00, Bank of
America for a Credit Card for the account number ending 8785 for $953 .00, Bank ofAmerica for
a Credit Card for the account number ending 1142 for $17,966.00, Chase Bank USA, NA for a
Credit Card for the account number ending 0840 for 322,168.00 (disputed claim)$, Chase Bank
USA, NA for a Judgment in Westchester County, NY for 323,340.00, Citibank, N.A. for a
Judgment in Westchester County, NY for $27,965.00, CloseMyTimeShare.com for a Time Share
Deficiency for the account number ending 2923 for $5,641.44 (disputed claim)4, FIA CSNA for
a Credit Card for the account number ending 4181 for $2,832.00, First Revenue Assurance for
$780.00, l\/[ark L. Nichter, P.C. for Collection for Greenwich Hospital for account number
ending 3804 for $1,400.00, and WF Fin Bank for a Credit Card for the account number ending
3666 for $2,194.00. These are only claims that filed a proof of claim and allowed, all others will
be barred for collection from the Debtor forever, unless the Debtor has not listed the claim as
disputed contingent, or unliquidated The Debtor can prepay without penalty The Debtor
reserves the right to increase distribution if deemed necessary for voting purposes

The Debtor filed an Amended Schedule F on October 27, 2014, at Docket Entry 110. The
Debtor filed a l\/[otion to Approve Amended Schedules on October 29, 2014, at Docket Entry
113, for which there is a Hearing on November 25, 2014, which was noticed at Docket Entry
114. `

Class 9 is impaired
ARTICLE 6
ACCEPTANCE OR RE.]ECTI()N OF THE PLAN

6.1 Each Impaired Class Entitled to Vote Separatelv.

EXcept as otherwise provided in Article 6.4 or in any enforceable intercreditor contract or
agreement, the Holders of Claims or Interests in each Impaired Class of Claims or Interests shail
be entitled to vote separately to accept or reject the Plan.

6.2 Acceptance by Impaired Classes.

Pursuant to Section 1126(0) of the Bankruptcy Code, an Impaired Class of Claims shall
have accepted the Plan if (a) the Holders (other than any Holder designated pursuant to Section
1126(e) of the Bankruptcy Code) of at least two-thirds in dollar amount of the Allowed Claims
actually voting in such Class have voted to accept the Plan and (b) the Holders (other than any
Holder designated pursuant to Section 1126(e) of the Bankruptcy Code) or more than one~half in
number of the Allowed Claims actually voting in such Class have voted to accept the Plan., ff a
Holder of a Claim holds more than one Claim in any one Class, all Claims of such Holder in
such Class shall be aggregated and deemed to be one Claim for purposes of determining the
number of Claims in such Class voting on the Plan. Pursuant to Section 1126(d) of the

 

3 This claim is disputed as duplicative, and is not being included in the Claim Tota|.
qi'his claim is disputed, as the Debtor has provided a deed-in-|ieu to Creditor, Which Would satisfy any claim the
Creditor has against the Debtor, and is not being included in the Claim Total.

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Banl<ruptcy Code, an Impaired Class of Interests shall have accepted the Plan if the Holders
(other than any Holder designated pursuant to Section 1126(e) of the Bankruptcy Code) of at
least two-thirds in amount of the Allowed Interests actually voting in such Class have voted to
accept the Plan.

6.3 Presumed Acceptance of Plan by Unimpaired Classes.

Class 1 is Unimpaired under the Plan. Pursuant to Section 1126(f) of the Bankruptcy
Code, each such Class and the Holdch of Claims in such Classes are conclusively presumed to
have accepted the Plan, and thus, are not entitled to vote on the Plan. Accordingly, voted of
Holders cf Claims in such Classes are not being solicited by the Debtor. Except as otherwise
expressly provided in the Plan, nothing contained herein or otherwise shall affect the rights and
legal and equitable claims or defenses of the Debtor or the Reorganized Debtor in respect of any
Unimpaired Claims, including all rights in respect of legal and equitable defenses to setoffs or
recoupments against Unimpaired Claims.

6.4 Impairment Controversies.

If a controversy arises as to whether any Claim or lnterest, or any Class of Claims or
Class of lnterests, is lmpaired under the Plan, such Claim, Interest or Class shall be treated as
specified in the Plan unless the Bankruptcy Court shall determine such controversy upon motion
of the party challenging the characterization of a particular Claim or Interest or a particular Class
of Claims or Class of lnterests, under the Plan.

ARTICLE 7
TREATMENT OF EXECUTORY CONTRACTS ANI) UNEXPIRED LEASES

7.1 Assumption or Reiection of Executorv Contracts and Unexpired Leases. All executory
contracts and unexpired leases between the Debtor and any Person are dealt with as follows:

7.1.1 Assumption of Executorv Contracts and Unexpired Leases. All executory
contracts and unexpired leases set forth on the schedule of rejected executory contracts and
unexpired leases filed With the Bankruptcy Court as part Of this Plan will be deemed rejected by
Debtor.

7.1.2 Rei ection of Executorv Contracts and Unexpired Leases. All executory
contracts and unexpired leases either (i) set forth on the schedule of rejected executory contracts
and unexpired leases filed with the Bankruptcy Court or (ii) existing but not listed herein will be
deemed rejected as of the Effective Date or August 1, 2010, whichever is later, except for any
executory contract or unexpired lease that has been assumed or rejected in accordance with a
Final Order entered on or before the ConHrmation Date. '

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7.2 Approval of Assumption or Reiection. Entry of the Confirmation Order constitutes: (a)
the approval under Bankruptcy Code §365 of the assumption or assumption and assignment of
the executory contracts and unexpired leases assumed or assumed and assigned under this Plan
or otherwise during the Chapter ll Case; and (b) the approval under Bankruptcy Code §365 of
the rejection of the executory contracts and unexpired leases rejected under this Plan or
otherwise during the Chapter 11 Case. Notwithstanding anything contained in this Section 7.2 to
the contrary, the Debtor retains the right to add or change the treatment (assumed or rejected) of
any executory contract or unexpired lease to this Plan, thus changing the treatment of the
contract or lease under this Plan, at any time within 30 days after the Effective Date.

7.3 Cure of Defaults. On the Effective Date or as soon after that date as practicable,
Reorganized Debtor will cure any defaults under any executory contract or unexpired lease
assumed or assumed and assigned under this Plan. Reorganized Debtor will not, and need not as
a condition to assuming or assuming and assigning any executory contract or unexpired lease
under this Plan, Cure any default that need not be cured in accordance with Bankruptcy Code
§365(b).

7.4 Reiection Claims Bar Date. All Rejection Claims arising from the rejection of any
executory contract or unexpired lease under this Plan are required to be filed with the
Bankruptcy Court no later than the Rej ection Claims Bar Date. Any such Claim not filed within
that time will be forever barred With respect to any executory contract or unexpired lease
rejected by the Debtor before the ConHrrnation Date, the deadline for filing a Rejection Claim
remains the deadline set forth in the order of the Banl<ruptcy Court authorizing that rejection. lf
such an order did not contain such a deadline, the deadline for filing a Rej ection Claim arising
from that rejection is the Rej ection Claims Bar Date.

ARTICLE 8
MEANS OF IMPEMENTATION OF THE PLAN

8.1 General Overview of the Means of Fundine Plan Distributions.
The general structure of the reorganization effort in the Reorganization Case involves a

stand-alone plan of reorganization pursuant to which the Debtor shall continue to operate post-
confinnation as the Reorganized Debtor.

8.2 Section 1146 Exemption.

Pursuant to Section 1146(a) of the Bankruptcy code, the issuance, transfer, or exchange
of a security, or the making or delivery of an instrument of transfer under a plan confirmed under
Section 1129 of the Bankruptcy Code, may not be taxed under any law imposing a stamp tax or
similar tax. -

8.3 Effectuating Documents; Further Transactions.

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The Debtor shall be authorized to execute, deliver, file, or record such contracts,
instruments, deeds, releases, mortgages and other agreements or documents, and take such
actions as may be necessary or appropriate to effectuate and further evidence the terms and
conditions of the Plan or to otherwise comply with applicable law.

8.4 Preservation of Causes of Action.

Except as otherwise provided in the Plan or the Confirrnation Order or in any contract,
instrument, release, indenture or other agreement entered into in comrection with the Plan, in
accordance with Section 1123(b) of the Banl<ruptcy Code, the Reorganized Debtor will retain for
their own benefit and may pursue, not pursue, settle, release, or enforce, in its sole and absolute
discretion, all claims, rights or Causes of Action, suits and proceedings, whether in law or in
equity, whether known or unknown, that the Debtor or its Estate may hold against any Person,
including Causes of Action arising under Chapter 5 of the Bankruptcy Code. The Debtor is not
currently in a position to express an opinion on the merits of any Causes of Action or on the
recoverability of any amounts as a result of any such Causes of Action. ln the event of recovery
by the Debtor or the Reorganized Debtor, the funds will be deposited into Debtor’s bank account
and will be utilized to pay ongoing operating expenses
8.5 Retention of Jurisdiction.

The Plan provides for the retention of jurisdiction by the Bankruptcy Court following the
Effective Date.
ARTICLE 9
DETERMINATION OF CLAIMS

9.l Deterrnination of Claims.

9.1.1 Objection to Claims. Notwithstanding the occurrence of the Effective Date, and
except as to any Claim that has been allowed before the Effective Date, Reorganized Debtor may
object to the allowance of any Claim against the Debtor or seek estimation of any Claim on any
grounds permitted by the Bankruptcy Code. All objections to Claims must be brought by filing
the appropriate pleading in the Bankruptcy Court before the first Business Day that is 180 days
after the Effective Date, but the Bankruptcy Court may approve a later date on Reorganized
Debtor’s motion filed (but not necessarily heard) before the first Business Day that is 180 days
after the Effective Date.

9.1.2 Distributions on Allowance or Disallowance of Disputed Claims. N,o
distributions will be made to any Holder of a Claim unless and until the Claim becomes an
Allowed Claim. lf a Claim is not an Allowed Claim as of the Effective Date, distributions on
account of that Claim will commence only when the Claim becomes an Allowed Claim after the
Effective Date or as otherwise specifically provided in this Plan. lf a Disputed Claim becomes an
Allowed Claim, Reorganized Debtor will make a distribution in accordance with the terms of
this Plan applicable to Claims of the Class in which that Claim resides

9.1.3 Contingent Claims. Until a Contingent Claim becomes an Allowed Claim or is
disallowed the Claim will be treated as a Disputed Claim for all purposes under this Plan. The

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holder of a Contingent Claim will be entitled to a distribution under this Plan only when the
Contingent Claim becomes an Allowed Claim. Any Contingent Claim for reimbursement or
contribution held by a Person that may be liable with the Debtor on a Claim of a Creditor is
Disallowed as of the Effective Date if: (a) that Creditor’s Claim is Disallowed', (b) the Claim for
reimbursement or contribution is contingent as of the Effective Date; or (c) that Person asserts a
right of subrogation to the rights of the Creditor under Bankruptcy Code §509.

9.2 De Minimus Distributions.

No distributions of less than $10 will be made on account of any Claim or Equity
Interest If the holder of an Allowed Claim or Allowed Equity Interest does not receive a
distribution owing to the provisions of this Section 14.16 on the Effective Date or any
subsequent date, the Allowed Claim or Allowed Equity interest remains eligible for distributions
on the first date set for distributions when such distribution exceeds $10.

9.3 Unclaimed Distributions.

9.3.1 lf the Holder of an Allowed Unsecured Claim failed to negotiate a check issued to
such Holder within thirty (30) days of the date such check was issued, then the Debtor shall
provide written notice to such Holder stating that, unless such Holder negotiates such check
within thirty (30) days of the date of such notice, the amount of Cash attributable to such check
shall be deemed to be unclaimed, such Holder shall be deemed to have no further Claim in
respect of such check, such Holdcr’s Allowed Claim shall no longer be deemed to be Allowed,
and such Holder shall not be entitled to participate in any further distributions under the Plan in
respect of such Claim. All unclaimed funds will reinvest in the Debtor.

9.3.2 If a Cash distribution made pursuant to the Plan to any Holder of an Allowed
Claim is returned to the Debtor to an incorrect or incomplete address for the Holder of such
Allowed Claim, and no claim is made in writing to the Reorganized Debtor as to such
distribution within thirty (30) days of the date such distribution was made, then the amount of
Cash attributable to such distribution shall be deemed to be unclaimed such Holder shall be
deemed to have no further Claim in respect of such distribution, such Holder’ s Allowed Claim
shall no longer be deemed to be Allowed, and such Holder shall not be entitled to participate in
any further distributions under the Plan rn respect of such Claim

9.3.3 Any unclaimed Cash distribution as described in Articles 9.4.1 and 9.4.2 above
shall become the property of the Debtor for further distribution under the Plan.

9.4 Transfer of the Claim.
In the event that the Holder of any Claim shall transfer such Claim on and after the
Effective Date, such Holder shall immediately advise the Reorganized Debtor in writing of such

transfer and provide sufficient written evidence of such transfer

9.5 Compliance with Tax Requirements.

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ln connection with the Plan, the Debtor, the Reorganized Debtor shall comply with all tax
withholding and reporting requirements imposed by federal, state, local and foreign taxing
authorities and all distributions hereunder shall be subject to such withholding and reporting
requirements

ARTICLE 10
CON})ITIONS PRECEDENT

lO.l Condition Precedent to Confirmation of the Plan.

The following is a condition precedent to Confirmation of the Plan:

lO.l.l The Bankruptcy Couit shall have made such findings and determinations
regarding the Plan as shall enable the entry of the Coniirmation Order in a manner consistent

with the provisions of the Plan.

10.2 Conditions Precedent to the Effective Date.

 

The following are conditions precedent to the occurrence of the Effective Date, each of
which must be satisfied or may be waived by the Debtor in accordance with Article 103 of the
Pla`n:

10.2.1 The Banl<rruptcy Court shall have entered the Confirmation Order in form and
substance satisfactory to the Debtor on the Docket of the Bankruptcy Case, and no stay of the

Confirmation Order shall be in effect

10.2.2 The entry and effectiveness of all necessary orders by the Bankruptcy Court and
any appellate court exercising jurisdiction over the Bankruptcy Case.

10.3 Waiver of Conditions Precedent to the Effective Date.
The conditions precedent set forth in Article 10.2 (with the exception of the entry of the
Confirmation Order) of the Plan may be waived by the Debtor unless the Banl<ruptcy Court has

entered an order prohibiting any such waiver.

`ARTICLE 11
I)ISCHARGE ANI) GENERAL INJUNCTION

l l.l Revesting of Property of the Estate in the Reorganized Debtor.

On the Effective Date, except as otherwise expressly provided in the Plan, including as to
Lien preservation for Class 2, all Property of the Estate shall revest in the Reorganized Debtor
free and clear of any and all Liens, Debts, obligations, Claims, Liabilities, and all other interests

of every kind and nature, and the Coniirmation Order shall so provide

ll,2 Discharge of Claims and Termination of Equitv Interests

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Except as otherwise expressly provided in the Plan or in the Confirmation Order, the
rights afforded herein and the treatment of all Claims and equity interests herein shall be in
exchange for and in complete satisfaction, discharge and release of Claims and equity interest of
any nature whatsoever, including any interest accrued on such Claims from and after the
Commencement Date, against the Debtor and the Debtor in Possession, the Estate, any of the
assets or properties under the Plan. Confirmation of this Plan does not discharge any debt
provided for in this Plan until the court grants a discharge on completion of all payments under
this Plan, or as otherwise provided in § ll3l(d)5) of the Code. The Debtor will not be discharged
from any debt excepted from discharge under § 523 of the Code, except as provided in Rule
4007(0) of the Federal Rules of Banhruptcy Procedure.

11.3 United States Tnlstee’s Fees.

The Reorganized Debtor shall pay the United States Trustee the appropriate sum required
pursuant to 28 U.S.C. §1930(a)(6) through Confirmation on the Effective Date. The
Reorganized Debtor shall further pay the United States Trustee the appropriate sum required
pursuant to 28 U.S.C. §193G(a)(6), until the earlier of the closing of this Case by the issuance of
a Final Decree by the Court, or upon entry of an order of this Court dismissing this Case, or
converting this Case to another chapter under the Code, and the Reorganized Debtor shall
provide to the United States Trustee upon the payment of each post-confinnation payment an
appropriate affidavit indicating disbursement for the relevant periods

l 1.4 General In]'unction.

Pursuant to Sections 105, 1123., 1129 and 1141 of the Bankruptcy Code, in order to
preserve and implement the various transactions contemplated by and provided for in the
Plan_., as of the Effective Date., except as otherwise expressly provided in the Plan or in the
Coni`lrmation Order. all Persons or Entities that have held., currently hold or may hold a
Claim. Debt, Liabi]ity or Equity Interest that is discharged or terminated pursuant to the
terms of the Plan are and shall be permanently enioined and forever bgrred to the fullest
extent permitted by law from taking any of the following actions on account of any such
discharged or terminated Claiins, Debts, Liabi]ities. or Equity Interest, other than actions
brought to enforce any ri_ghts or obligations under the Plan: (a) commencing or continuing
in a_py n'Lanner wction or other proceeding against the Debtor or the Reorganized
Debtor or their respective Property, any claim against debtor’s counsel relating to the pla_n_'.L
(b) enforcing. attaching. collecting or recovering in any manner any iudgment. award,
decree or order against the Debtor. the Reorganized Debtor or its respective Properties; (c)
creating, perfecting or enforcing any Lien or encumbrance against the Debtor. the
Reorganized Debtor. or tl_ieir respective Properties; (d) asserting a setoff, right of
subrogation or recoupment of any kind against any debt.. liability or obligation due to the
Debtor or the Reorganized Debtor: (c) commencing or continuing, in any manner or in any
place, any action that does not comply with or is inconsistent with the provisions of the
Plan or the Confirmation Order., or (f) interfering with or in any manner whatsoever
disturbing the rights and remedies of the Debtor or Reorganized Debtor under the Plan

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and the documents executed in connection therewith. The Debtor and the Reorganized
Debtor shall have t_he right to independently seek enforcement of this general iniunction
provision7 This general iniunction provision is an integral part of the Plan and is essential
to its implementation This provision is cumulative with the Debtor’s other legal rights and
remedies

Notwithstanding the foregoing, the Reorganized Debtor shall remain obligated to make
payments to Holders of Aliowed Claims as required pursuant to the Plan.

11.5 Term of Certain injunctions and Automatic Stav.

Except as otherwise ordered by this Court, all injunctions or automatic stays provided for
in the Reorganization Case pursuant to section 105, 362 or other applicable provisions of the
Banlcruptcy Code, or otherwise, and in existence on the Confinnation Date, shall remain in full
force and effect until the Effective Date. Any preliminary or permanent injunction entered by
the Banl<ruptcy Court shall continue in full force and effect following the Confirmation Date and
the Final Decree Date, unless otherwise ordered by the Banlcruptcy Court.

11.6 No Liability for Tax Claims.

Unless a taxing Govemmental Authority has asserted a Ciaim against the Debtor before
the Bar Date or Administrative Expense Claims Bar Date established therefore, no Claim of such
Governmental Authority shall be Allowed against the Debtor or the Reorganized Debtor or their
respective members, officers or agents for taxes, penalties, interest, additions to tax or other
charges arising out of (i) of the failure, if any, of the Debtor, any of its Affiliates, or any other
Person or Entity to have paid tax or to have filed any tax return (including any income tax retuni
or franchise tax return) in or for any prior year or period, or (ii) an audit of any return for a
period before the Petition Date.

ARTlCLE 12
RETENTION OF JURISDICTION

12.1 Notwithstanding the entry of the Confirmation Order and the occurrence of the
Effective Date, the Bankruptcy Court will retain as much jurisdiction over the Chapter ll Cases
after the Eff`ective Date as legally permissible including jurisdiction to:

12.l.l Allow, disallow, detennine, liquidate, classify, estimate, or establish the
amount, priority? or secured or unsecured status of any Claim, and resolve any request for
payment of any Administrative Claim and any objection to the Allowance or priority of any
Claim',

12.1.2 Grant or deny any applications for allowance of compensation or
reimbursement of expenses authorized under the Bankruptcy Code or this Plan;

12.1.3 Resolve any matters related to the assumption, assumption and
assignment, or rejection of any executory contract or unexpired lease to which the Debtor is a

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party and to hear, determine and, if necessary, liquidate any Claims arising from, or Cure related “
to, assumption or rejection;

12.1.4 Ensure that distributions required under this Plan are accomplished in
accordance with this Plan;

12.1.5 Decide or resolve any motions, adversary proceedings contested matters,
and any other matters and grant or deny any applications or motions involving the Debtor that
may be pending on the Effective Date;

12.1.6 Enter any necessary or appropriate orders to implement or consummate
this Plan’s provisions and all contracts, instruments, releases, and other agreements or documents
created in connection with this Plan or the Disclosure Statement;

l2.l.7 Resolve any cases, controversies, suits, or disputes that may arise in
connection with the consummation, interpretation, or enforcement of this Plan, or any Person’s
obligations incurred in connection with this Plan;

12.1.8 Hear and determine any motion or application to modify this Plan before
or after the Effective Date under Bankruptcy Code §1127 or modify the Disclosure Statement or
any contract, instrurnent, release, or other agreement or document issued, entered into, filed, or
delivered in connection with this Plan or the Disclosure Statement; or hear or determine any
motion or application to remedy any defect or omission or reconcile any inconsistency in any
Banl<ruptcy Court order, this Plan, the Disclosure Statement, or any contract, instrument, release,
or other agreement or document issued, entered into, filed or delivered in connection with this
Plan or the Disclosure Statement, in such manner as may be necessary or appropriate to
consummate this Plan, to the extent authorized by the Banl<ruptcy Code;

12.1.9 Issue injunctions, enter and implement other orders, or take any other
necessary or appropriate actions to restrain any entity’s interference with consummation or

enforcement of this Plan;

12.1.10 Enter and implement any necessary or appropriate orders if the
Conhrmation Order is for any reason modified, stayed, reversed, revoked, or vacated;

12.1.1 l Detennine any other matters that may arise in connection with or related
to this Plan, the Disclosure Statement, the Coniirmation Order, or any contract, instrument,
release, or other agreement or document issued, entered into, nled, or delivered in connection
with this Plan, the Disclosure Statement or the Confirmation Order;

12.1.12 Issue a final decree and enter an order closing the Chapter ll Case; and

12.1.13 Adjudicate the Disputed Claims, the Avoidance Actions, and the
Preserved Litigation Claims and any other cause of action or claims of the Debtor or the Estate.

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ARTICLE 13
MODIFICATION OF PLAN AND CONFIRMATION OVER OBJECTIONS

l?).l Modification of Plan.

l3.l.1 The Debtor may modify the Plan at any time prior to the entry of the
Confirmation Order provided that the Plan, as modified, and the Disclosure Statement meet
applicable Bankruptcy Code and Banl<ruptcy Rules requirements

l3.l .2 After the entry of the Confirmation Order, the Debtor or the Reorganized Debtor
(as the case may be) may modify the Plan to remedy any defect or omission or to reconcile any
inconsistencies in the Plan or in the Confirmation Order, as may be necessary to carry out the
purposes and effects of the Plan, provided that (a) the Debtor or the Reorganized Debtor (as the
case may be) obtains Banl<ruptcy Court approval for such modification, after notice and a
hearing, and (b) such modification does not materially adversely affect the interests rights or
treatment of any Class of Claims or Equity Interest under the Plan.

13.1.3 After the Conhrmation Date and before substantial consummation of the Plan, the
Debtor or the Reorganized Debtor (as the case may be) may modify the Plan in a way that
materially adversely affects the interests rights or treatment of a Class of Claims or Equity
Interests provided that (a) the Plan, as modified, meets applicable Bankruptcy Code
requirements; (b) the Debtor or the Reorganized Debtor (as the case may be) obtains Banl<ruptcy
Court approval for such modification, after notice and hearing; (c) such modification is accepted
by at least two~thirds in dollar amount, and more than one-half in number, of Allowed Claims or
by at least two-thirds in amount of Allowed Equity interests voting in each Class adversely
affected by such modification; and (d) the Debtor or the Reorganized Debtor (as the case may
be) complies with Section ll25 of the Bankruptcy Code with respect to the Plan, as modified.

13.1.4 Notwithstanding anything to the contrary contained in this Article 13_1 or
elsewhere in the Plan, the plan may not be altered, amended or modified without the written
consent of the Debtor or the Reorganized Debtor (as the case may be).

13.2 Confirmation over Objections.

ln the event any lmpaired Class of Claims or Equity Interest votes against the Plan, and
the Plan is not revoked or withdrawn in accordance with Article 14.2, the Debtor hereby
requests and shall be allowed, to modify the terms of the plan to effect a “cramdown” on such
dissenting Class by (a) restructuring the treatment of any Class on terms consistent with Section
1129(b)(2)(B) of the Banlcruptcy Code, or (b) deleting distributions to all Classes at or below the
level of the objecting Class or reallocating such distributions until such impaired senior Classes
are paid in accordance with the absolute priority rule of Section 1129(b) of the Bankruptcy Code,
The Debtor may make such modihcations or amendments to the Plan and such modification or
amendments shall be filed with the Bankruptcy Court and served on all parties in interest entitled
to receive notice prior to the Confirmation hearing No such modifications shall require any

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resolicitation of acceptances as to the Plan by any Class of Claims or Equity Interests unless the
Bankmptcy Court shall require otherwise Notwithstanding any provision of the plan to the
contrary, the Debtor reserves any and all rights it may have to challenge the validity, perfection,
priority, scope and extent of any Liens in respect to any Secured Claims and the amount of any
Secured Claims the Holders of which have not accepted the Plan.

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ARTlCLE 14
MISCELLANEOUS PROVISIONS

l4.l No Admissions.

The Plan provides for the resolution, settlement and compromise of Claims against and
Equity Interests in the Debtor. Nothing herein shall be construed to be an admission of any fact
or otherwise binding upon the Debtor in any manner prior to the Effective Date.

14.2 Revocation or Withdrawal of the Plan.

The Debtor reserves the right to revoke or withdraw the Plan prior to the Confinnation
Date. lf the Debtor revokes or withdraws the Plan, or if Confinnation of the Plan does not occur,
then the Plan shall be deemed null and void in all respects and nothing contained in the Plan shall
be deemed to (a) constitute a waiver or release of any Claims against, or Equity Interests in, the
Debtor or any other Person, or (b) prejudice in any manner the rights of the Debtor or any other
Person in any further proceedings involving the Debtor.

14.3 Standard for Approval of the Bankruptcv Court.

In the event any of the matters described herein are brought for approval before the
Bankruptcy Court, then any such approval shall mean the entry of an order by the Bankruptcy
Court approving the matter using the standards for approval of similar matters by a Chapter ll
Debtor in Possession.

14.4 Further Assurances.

Each of the Debtor and the Reorganized Debtor agree, and is hereby authorized to
execute and deliver any and all papers documents contracts agreements and instruments which
may be necessary to carry out and implement the terms and conditions of the Plan.

14.5 l-Ieadings.

The headings and table of contents used in the Plan are for convenience and reference
only and shall not constitute a part of the Plan for any other purpose or in any manner affect the
construction of the provisions of the Plan.

14.6 Notices.

All notices requests or other documents in connection with, or required to be served by,
the Plan shall be in writing and shall be sent by Hrst class United States mail, postage prepaid, or
by ovemight delivery by a recognized courier service, to the Debtor or the Reorganized Debtor
c/o l\/Iichael A. Kaufman, Esq., Michael A. Kaufman, P.A., 1655 Palm Beach Lakes Boulevard,
Suite 1012, West Palm Beach, Florida 33401.

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14.’/‘ Goveming Law.

Except to the extent that federal law (including the Bankruptcy Code or the Bankruptcy
Rules) is applicable, or where the Plan or the provision of any contract, instrument, release,
indenture or other agreement or document entered into in connection with the Plan provides
otherwise, the rights and obligations arising under the Plan shall be governed by, and construed
and enforced in accordance with the laws of the State of Florida, without giving effect to the
principles of conflicts of law thereof.

14.8 limitation on Allowance.

No attorneys’ fees punitive damages penalties exemplary damages or interest shall be
paid with respect to any Claim or Equity Interest except as otherwise specified in the Plan or as
Allowed by a Final Order of the Bankruptcy Court.

14.9 Estimated Claims

To the extent any Claim is estimated for any purpose other than for voting on the Plan,
then in no event shall such Claim be allowed in an amount greater than the estimated amount

14. 10 Consent to lurisdiction.

Upon any default under the Plan, the Debtor and the Reorganized Debtor consent to the
jurisdiction of the Bankruptcy Court, or any successor thereto, and agree that it shall be the
preferred forum for al proceedings relating to any such default.

By accepting any distribution or payment under or in connection with the Plan, by filing
any Proof of Claim, by filing any Administrative Expense Claim, by voting on the Plan, by
reason of being served with notice of the filing of the Bankruptcy Case or the Confirmation
Heaiing, or by entering an appearance in the Bankruptcy Case, all Creditors Holders of Equity
interests and other parties in interest, including foreign Creditors and foreign parties in interest,
have consented, and shall be deemed to have expressly consented, to the jurisdiction of the
Bankruptcy Court for all purposes with respect to any and all matters relating to or arising under
this Bankruptcy Case. The Bankruptcy Court shall maintain jurisdiction to the fullest extent
allowed under applicable law over all matters set forth in Article 12 of the Plan.

14.11 Setoffs.

Subj ect to the limitations provided in Section 553 of the Bankruptcy Code, the
Reorganized Debtor may, but shall not be required to, set off against any Claim and the
payments or other distributions to be made pursuant to the Plan in respect of such Claim, claims
of any nature whatsoever the Debtor may have against the Holder of such Claim, but neither the
failure to do so nor the allowance of any Claim hereunder shall constitute a waiver or release by
the Reorganized Debtor of any such claim that the Debtor may have against the Holder of such
Claim.

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14.12 Successors and Assigi_is.

The rights benefits duties and obligations of any Person or Entity named or referred to
in the Plan shall be binding upon, and shall inure to the benefit of, any heir, executor,
administrator, successor or assign of such Person or Equity.

14.3 No lnterest.

Except as expressly stated in the Plan or otherwise Allowed by a Final Order of the
Bankruptcy Court, no Holder of an Allowed Claim shall be entitled to the accrual of Postpetition
interest or the payment of Postpetition interest, penalties or late charges on account of such
Allowed Claim for any purpose

14. 14 Modification of Pavment Tenns.

The Reorganized Debtor reserves the right to modify the treatment of any Allowed
Claim, as provided in Section 1123(a)(4) of the Bankruptcy Code, at any time after the Effective
Date, upon the consent of the Holder of such Allowed Claim.

14.15 Entire Ag,reeinent.

The Plan sets forth the entire agreement and undertakings relating to the subject matter
hereof and supersedes all prior discussions and documents No Person or Entity shall be bound
by any terms conditions definitions warranties understandings or representations with respect
to the subject matter hereof, other than as expressly provided for herein or as may hereafter be
agreed to by such Person or Entity in writing

14. 16 Severability of Plan Provisions.

 

If, prior to Confirmation of the Plan, any term or provision of the Plan is held by the
Bankruptcy Court to be invalid, void or unenforceable, the Bankruptcy Court, at the request of
the Debtor shall have the power to alter or interpret such term or provision to make it valid or
enforceable to the maximum extent practicable, consistent with the original purpose of the term
or provision held to be invalid, void or unenforceable, and such term or provision shall then be
applicable as altered or interpreted Notwithstanding any such holding, alteration or
interpretation, the remainder of the terms and provisions of the Plan will remain in filll force and
effect and will in no way be affected, impaired or invalidated by such holding, alteration or
interpretation The Confirmation Order shall constitute a judicial determination and shall
provide that each term or provision of the Plan, as it may have been altered or interpreted in
accordance with the foregoing is valid and enforceable

14.17 Confirmation Order and Plan Control.

 

To the extent the Confinnation Order or the Plan is inconsistent with the Disclosure
Statement or any agreement entered into between the Debtor or the Reorganized Debtor and any
third party, unless otherwise expressly provided in the Plan or the Confirmation Order, the Plan

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controls over the Disclosure Statement and any such agreement, and the Confirmation Order
(and any other final Orders of the Bankruptcy Court) shall be constiued together and consistent
with the terms of the Plan.

14.18 Computation of Time.

In computing any period of time prescribed or allowed by the Plan, the provisions of
Bankruptcy Rule 9006(a) shall apply.

14.19 Substantial Consummation.

 

The Plan shall be deemed to be substantially consummated within the meaning of Section
1101 of the Bankruptcy Code upon commencement by the Reorganized Debtor of the
distributions described in the Plan.

14.20 Plan Documents

The Plan Documents (if any) shall be filed with the Bankruptcy Court at least five (5)
days prior to the Voting Deadline; provided, however, that the Debtor may amend the Plan
Documents through and including the Confirmation Date Upon their filing with the Bankruptcy
Court, the Plan Documents may be inspected in the Clerk’s Oflice during normal business hours
or may be obtained from the Debtor’s counsel

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Dated: October 31, 2014 m… j_<_m,\j,_@

West Palm Beach, Florida 7 / Eugenia L. Cannavo

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